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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,     )         CR. NO. 06-00079 DAE
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
NAEEM J. WILLIAMS,            )
                              )
          Defendant.          )
_____________________________ )



         ORDER DENYING DEFENDANT NAEEM J. WILLIAMS’ MOTION
     FOR ORDER PERMITTING NAEEM J. WILLIAMS’ DEFENSE COUNSEL
       AND AN INVESTIGATOR TO INTERVIEW DELILAH WILLIAMS AND
      GRANTING DEFENDANT DELILAH S. WILLIAMS’ MOTION SEEKING
SPECIFIC PERFORMANCE OF PLEA AGREEMENT AND TO PREVENT DEPOSITION

           Before the Court is Defendant Naeem J. Williams’

(“Naeem”) Motion for Order Permitting Naeem J. Williams’ Defense

Counsel and an Investigator to Interview Delilah Williams

(“Motion to Interview”), filed on November 9, 2007, and Defendant

Delilah S. Williams’ (“Delilah”) Motion Seeking Specific

Performance of Plea Agreement and to Prevent Deposition (“Motion

to Prevent Deposition”), filed January 4, 2008.          These matters

came on for hearing on February 25, 2008.        Marshall Silverberg,

Assistant United States Attorney, and Keirsten Kennedy, Special

Assistant United States Attorney appeared on behalf of Plaintiff

United States of America (“the Government”).         David Klein, Esq.,

and John Phillipsborn, Esq., appeared on behalf of Naeem, who was

present.   Alexander Silvert, Esq., appeared on behalf of Delilah,
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who was also present.       After careful consideration of the

motions, supporting and opposing memoranda, and the arguments of

counsel, Naeem’s Motion to Interview is HEREBY DENIED and

Delilah’s Motion to Prevent Deposition is HEREBY GRANTED for the

reasons set forth below.

                                   BACKGROUND

I.      Motion to Interview

             Naeem seeks to interview Delilah to obtain information

in preparation for his defense in both the guilt phase of trial

and the penalty hearing.          Delilah’s plea agreement requires her

to be available for questioning by law enforcement and

representatives of the United States Attorney’s Office at any

reasonable time, but she has refused to submit to an interview by

Naeem’s counsel.       Naeem asked the Government to assist in

obtaining Delilah’s cooperation.            Although the Government did not

object to the interview, it deferred to Delilah’s counsel.

             The Government has conducted interviews with Delilah

and has provided some materials from those interviews to Naeem.

Naeem, however, argues that the Government’s interviews are

insufficient for his needs because: 1) the Government interviews

emphasized crime facts, not penalty or mitigation evidence; 2)

there were limited references to the injuries which Delilah

acknowledges causing T.E.W.; and 3) there were limited references

to Delilah’s pre-arrest statements about her relationship with


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Naeem and T.E.W.    Naeem argues that, because Delilah’s plea

agreement requires her to be available to the Government, there

would be an “asymmetry between the prosecution and defense in

this death penalty case” if she is not also made available to

Naeem.   [Mem. in Supp. of Motion to Interview at 3.]          In the

alternative, Naeem argues that, because Delilah is a cooperating

witness who is unavailable to the defense, the Court should apply

case law regarding confidential informants.         Under Ninth Circuit

law, the prosecution must make reasonable attempts to produce an

informant upon the defense’s request.

           The Government filed a response to the Motion to

Interview on November 26, 2007.      The Government notes that

Delilah’s plea agreement neither requires her to meet with the

defense nor prohibits her from doing so.        The Government argues

that the Motion to Interview seeks an order compelling the

Government to require Delilah to submit to a defense interview

and Naeem has not identified any case law supporting such an

order.   The cases Naeem cites regarding confidential informants

are not on point.    They only hold that the prosecution must

either schedule a meeting between the defense and the informant

or provide the defense with the informant’s contact information;

they do not compel the informant to submit to the interview.              In

the present case, Naeem already knows where Delilah is and the

Government has informed the defense that it does not object to


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the interview.1

          The Government notes that, under her plea agreement, if

Delilah’s testimony at trial is materially different from her

statements memorialized in the plea agreement, the Government

intends to move to withdraw from the agreement.            If the defense

interviews Delilah and she makes materially different statements

from those in her plea agreement, the defense may use the

interview statements to impeach her at trial and the Government

would have grounds to withdraw.        Delilah could then face trial

and a mandatory life sentence if convicted.           The situation could

become even more problematic if there is a dispute about what

Delilah said during her interview with the defense.              Delilah has

informed the Government that she is not willing to submit to an

interview by the defense.

          The Government states that Naeem knows everything that

it knows about Delilah’s anticipated trial testimony.              The

Government provided Naeem with an unredacted copy of Delilah’s

plea agreement and two FBI reports detailing her statements to

the Government’s attorneys and the FBI.         The Government has no

additional information about the testimony she will likely give

during the guilt phase.        The Government therefore argues that the

Court should deny the Motion to Interview.


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       The only restriction the Government requested was that
Naeem himself not be present during the interview and Naeem’s
counsel agreed.

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           The Government, however, states that it was willing to

agree to a Federal Rule of Criminal Procedure 15 deposition of

Delilah.   This would allow the defense to obtain the information

they hoped to obtain during an interview and would prevent any

later disputes about what she said during the interview.

           Naeem filed his reply on December 4, 2007, reiterating

the arguments he raised in Motion to Interview.          Naeem, however,

states that the Government’s suggestion of a Rule 15 deposition

will accommodate his concerns, provided that Delilah will

participate and that all parties understand that the deposition

will not serve as a substitute for her testimony at trial.

II.   Motion to Prevent Deposition

           Delilah filed the Motion to Prevent Deposition in

response to the Government’s and Naeem’s agreement to take her

deposition.   She argues that paragraph 18 of her plea agreement

sets forth the full extent of her required cooperation with the

Government.   It states:

           18. The defendant agrees that she will fully
           cooperate with the United States as agreed herein.
                (a). The defendant agrees to testify
           truthfully at the guilt phase of United States v.
           Naeem Williams, Cr. No. 06-00079 DAE, and not to
           assert any privilege regarding such testimony.
                (b). The defendant agrees to be available to
           speak with law enforcement officials and to
           representatives of the United States Attorney’s
           Office at any reasonable time and to give truthful
           and complete answers at such meetings, but she
           understands she may have her counsel present at
           those meetings, if she so desires. The defendant
           further agrees that having Alexander Silvert at

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             those meetings will suffice and she does not
             require Judy Clarke to be present at the meetings.

[Mem. in Supp. of Motion to Prevent Deposition at 2 (quoting Plea

Agreement at p. 18, ¶ 18) (emphasis in original).]              Paragraph 18

does not require her to submit to a deposition, nor was a

deposition even contemplated.      If the Court finds that the plea

agreement is ambiguous with respect to her availability for

depositions, Delilah argues that the ambiguity should be

construed against the Government, which drafted the plea

agreement and was in the stronger bargaining position.

             Further, she argues that Rule 15 depositions are only

appropriate when the person to be deposed may be unavailable for

trial.   As required by her plea agreement, she will be available

for trial.    Delilah also argues that the deposition would give

the Government an unfair advantage by allowing it to preview her

trial testimony and use her deposition against her if her trial

testimony differs from her deposition testimony.           In addition,

because the district judge has not yet accepted the plea

agreement, a deposition could pose a serious risk of irreparable

harm to Delilah.    If the district judge rejects the plea

agreement and she goes to trial, while the Government could not

use the statements she made to the Government against her, it

could use her deposition against her.         Delilah asserts that the

proposed deposition is a fishing expedition on Naeem’s part and

that Naeem has no right to a preview of her trial testimony.

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          Delilah argues that the Government’s failure to oppose

Naeem’s request for an interview and its agreement to depose her

breached the terms of her plea agreement.          When the prosecution

breaches a plea agreement, the defendant is entitled to either

rescission or specific performance of the plea agreement.

Delilah seeks specific performance, i.e. that the Government

oppose the deposition.    Delilah argues that to allow the

deposition to go forward would be to allow the Government and

Naeem to enter into an agreement to deprive her of her due

process rights.

          The Government filed its memorandum in response to the

Motion to Prevent Deposition on January 4, 2008.            First, the

Government notes that the district judge accepted Delilah’s plea

agreement at a July 5, 2007 hearing.        Although the Government

disagrees that any ambiguity in the plea agreement should be

construed against it, the Government does agree that the plea

agreement is ambiguous as to whether Delilah must submit to a

pretrial Rule 15 deposition.        The Government also agrees that the

Ninth Circuit has made it clear that Rule 15 is not to be used

for discovery purposes.        The Government therefore withdraws its

consent to have Delilah deposed and now opposes Naeem’s request

to interview Delilah.

          On January 28, 2008, Naeem filed a joint response to

the Motion to Prevent Deposition and a supplemental reply to the


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Motion to Interview.    Naeem argues that Delilah does not have

standing to object to any agreement between the Government and

Naeem to take her deposition because she is not a party in the

upcoming trial.    Naeem asserts that, even though Rule 15

depositions are generally not to be used for discovery, courts

retain broad discretion to grant depositions if there are

exceptional circumstances which render the deposition in the

interests of justice.    Naeem also notes that Delilah’s

availability is unclear.       Although she will apparently be

available to testify for the Government in the guilt phase,

Delilah has not indicated her willingness to testify for the

defense in either the guilt or penalty phase.          Even if she is

available, Naeem cannot ascertain what her testimony would be and

whether it would be useful to him.

             Naeem argues that the Court should treat the instant

matter as if he had moved for a court-ordered deposition.              Thus,

the issue should be whether, due to exceptional circumstances, it

is in the interests of justice to preserve Delilah’s testimony

for trial.    Naeem argues that Delilah’s plea agreement, her

refusal to submit to a defense interview, the ambiguity regarding

her availability for the penalty phase, and the absence of

Government interviews regarding potentially mitigating evidence

support a finding of exceptional circumstances.

             Naeem also reiterates that, pursuant to the terms of


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her plea agreement, the Government can compel Delilah to submit

to a defense interview.           Naeem argues that, under Supreme Court

case law, a valid death penalty scheme cannot prevent the

sentencer from considering any relevant mitigating evidence.

Delilah is the Government’s primary percipient witness and she

claims she was present for statements and acts that the

Government deems relevant to its case against Naeem.                  Naeem

argues that Delilah may also possess mitigating information that

he is entitled to ferret out as part of counsel’s reasonable

investigation regarding how to best represent him.                  Naeem

therefore asks the Court to grant the Motion to Interview and

allow either a deposition or a defense interview of Delilah.

                                    DISCUSSION

I.      Rule 15 Deposition

             Federal Rule of Criminal Procedure 15(a)(1) states, in

pertinent part: “A party may move that a prospective witness be

deposed in order to preserve testimony for trial.                   The court may

grant the motion because of exceptional circumstances and in the

interest of justice. . . .”          The Advisory Committee’s Notes

state:

                  Subdivision (a) is revised to provide that
             the government as well as the defendant is
             entitled to take a deposition. The phrase
             “whenever due to special circumstances of the case
             it is in the interest of justice,” is intended to
             make clear that the decision by the court as to
             whether to order the taking of a deposition shall
             be made in the context of the circumstances of the

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          particular case. The principal objective is the
          preservation of evidence for use at trial. It is
          not to provide a method of pretrial discovery nor
          primarily for the purpose of obtaining a basis for
          later cross-examination of an adverse witness.
          Discovery is a matter dealt with in rule 16. An
          obviously important factor is whether a deposition
          will expedite, rather than delay, the
          administration of criminal justice. Also
          important is the presence or absence of factors
          which determine the use of a deposition at the
          trial, such as the agreement of the parties to the
          use of the deposition; the possible unavailability
          of the witness; or the possibility that coercion
          may be used upon the witness to induce him to
          change his testimony or not to testify. See rule
          16(a)(1)(v).
               Subdivision (a) also makes explicit that only
          the “testimony of a prospective witness of a
          party” can be taken. This means the party’s own
          witness and does not authorize a discovery
          deposition of an adverse witness. The language
          “for use at trial” is intended to give further
          emphasis to the importance of the criteria for use
          specified in subdivision (e).

Fed. R. Crim. P. 15(a) advisory committee’s note (1974 Amendment)

(emphases added).

          A court has broad discretion in considering a motion to

depose a proposed witness in a criminal case and considers the

circumstances of the case in determining whether exceptional

circumstances warrant the deposition.        See United States v.

Omene, 143 F.3d 1167, 1170 (9th Cir. 1998).        The Ninth Circuit

has stated that “[o]rdinarily, exceptional circumstances exist

when the prospective deponent is unavailable for trial and the

absence of the testimony would result in an injustice.”            United

States v. Sanchez-Lima, 161 F.3d 545, 548 (9th Cir. 1998).             For


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example, the Ninth Circuit has held that it is unjust “to deprive

a defendant of what may be crucial exculpatory evidence.”            Id.

(citation omitted).    The Ninth Circuit has also held that

“fairness and efficiency of the trial process” alone do not

warrant Rule 15 depositions.     See United States v. Fei Ye, 436

F.3d 1117, 1123-24 (9th Cir. 2006).

           The Court cannot find that Delilah is unavailable for

trial.   Naeem is free to subpoena Delilah for either the guilt or

penalty phase, and the Government has offered to pose questions

written by Naeem’s attorneys during one of its pretrial

interviews and to provide Naeem with a report of the interview.

Further, the Court finds that Delilah’s plea agreement and her

refusal to submit to a defense interview do not constitute

exceptional circumstances for purposes of Rule 15(a)(1).            The

Court therefore DENIES Naeem’s request for a order compelling

Delilah to submit to a deposition.

II.   Confidential Informant

           In the alternative, Naeem argues that Delilah is in a

similar position to that of a confidential informant and that

this Court should order the Government to produce her for a

defense interview.

           “As a matter of fairness, courts have often required

the government to show reasonable efforts in producing the

confidential informant . . . for an interview when properly


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requested by a defendant, such as when the defendant asserts a

plausible entrapment defense, or otherwise shows a need for the

information.”    United States v. Montgomery, 998 F.2d 1468, 1473

(9th Cir 1993).   “Courts typically find the government’s efforts

to secure the presence of a confidential informant unreasonable

when the government acts with negligence or intentional

avoidance.”   See id. (citing United States v. Tornabene, 687 F.2d

312, 316 (9th Cir. 1982) (“Whether through neglect or intentional

avoidance, the government’s actions, taken as a whole, do not

reflect efforts which were designed to produce the informant.”)).

If the government had a duty to produce the informant, the

government must prove that it made reasonable efforts to produce

the informant.    See id.     If the government could have produced

the informant through reasonable efforts, but failed to do so,

and it prejudices the defendant’s case, it is grounds for a new

trial.   See id. at 1478.

           The Court finds that Delilah is not similarly situated

to a confidential informant.      Her identity and location are known

to Naeem’s counsel.    There is nothing preventing Naeem from

interviewing her except her decision not to speak to Naeem’s

defense team.    Further, as noted above, Naeem can subpoena her to

testify on his behalf at either the guilt or penalty phase.              The

Court therefore DENIES Naeem’s request for a court order

compelling Delilah to submit to an interview by Naeem’s counsel.


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                              CONCLUSION

          On the basis of the foregoing, Naeem’s Motion for Order

Permitting Naeem J. Williams’ Defense Counsel and an Investigator

to Interview Delilah Williams, filed on November 9, 2007, is

HEREBY DENIED and Delilah’s Motion Seeking Specific Performance

of Plea Agreement and to Prevent Deposition, filed January 4,

2008, is HEREBY GRANTED.

          IT IS SO ORDERED.

          DATED AT HONOLULU, HAWAI`I, February 29, 2008.



                                  /S/ Leslie E. Kobayashi
                                 Leslie E. Kobayashi
                                 United States Magistrate Judge




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